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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                    WESTERN DIVISION AT CINCINNATI

UNITED STATES OF AMERICA,

                               Plaintiff,            :       Case No. 1:13-cr-025


                                                             District Judge Susan J. Dlott
       -   vs   -                                            Magistrate Judge Michael R. Merz

BRIEN CHAMPION,


                               Defendant.            :



                       REPORT AND RECOMMENDATIONS


       Defendant Brien Champion brought this action under 28 U.S.C. § 2255 to obtain relief

from his conviction and sentence in this drug distribution case (ECF No. 604).

       Mr. Champion is proceeding pro se in this matter. Counsel was appointed to consider

filing under Johnson v. United States, 576 U.S. ___, 135 S. Ct. 2551, 192 L. Ed. 2d 569 (2015),

but has declined to do so. Champion does not raise a Johnson claim in the instant Motion.

       The Motion is before the Court for initial review pursuant to Rule 4(b) of the Rules

Governing ' 2255 Cases which provides:

                The judge who receives the motion must promptly examine it. If it
                plainly appears from the motion, any attached exhibits, and the
                record of prior proceedings that the moving party is not entitled to
                relief, the judge must dismiss the motion and direct the clerk to
                notify the moving party. If the motion is not dismissed, the judge
                must order the United States to file an answer, motion, or other

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              response within a fixed time, or take other action the judge may
              order.


       Champion pleads two grounds for relief:

              Ground One: Ineffective assistance of counsel for failing to
              adequately explain the federal law of conspiracy to Petitioner.

              Ground Two: Plea waiver unenforceable where counsel failed to
              adequately explain waiver.


(Motion, ECF No. 604.)       The Motion includes an eight-page Memorandum of Law and

Champion’s one-page Declaration.



Procedural History



       The docket reflects that on February 20, 2013, the grand jury for this District returned an

Indictment charging Defendant in Count 1 with conspiracy to possess with intent to distribute

and to actually distribute a kilogram or more of heroin and 280 grams or more of crack cocaine.

In Count 6 he was charged with maintaining a premises for distribution of heroin within 1000

feet of a playground (ECF No. 1). Several weeks later, a Superseding Indictment was returned,

again charging Champion with the same crimes.

       In October 2013 Champion entered into a written Plea Agreement with the United States

in which he agreed to plead guilty to the conspiracy count (ECF No. 269, PageID 874, ¶ 1). The

parties agreed that a sentence of 155 months imprisonment and five year supervised release was

a sufficient sentence. Id. at ¶ 2. Because the plea was to be made under Fed. R. Crim. P.

11(c)(1)(c), the Court was bound to impose the agreed sentence if the Court accepted the Plea


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Agreement. Id. Champion waived his right to appeal the sentence imposed unless it exceeded

the agreed 155 months. Id. at ¶ 13.

       On October 16, 2013, Champion appeared before District Judge Dlott to engage in the

plea colloquy required before acceptance of a plea. Champion indicated he was satisfied with

the advice his attorney William Gallagher had given him (Transcript, ECF No. 524, PageID

1686-87). Contrary to his claims in the § 2255 Motion, Champion admitted he had discussed the

charges with Gallagher who had explained them to him. Id. at PageID 1687-88. He stated he

understood what a conspiracy was. Id. at PageID 1688. After being sworn, he again indicated

he understood the charges. Id.        at PageID 1691.     The prosecutor summarized the Plea

Agreement, including the sentence appeal waiver. Champion told Judge Dlott he understood it

as written. Id. at PageID 1705. He admitted to the truth of the facts of the offense as testified to

by the federal agent present. Id. at PageID 1712.

       Although Judge Dlott imposed the agreed-upon sentence, Champion appealed. The

Court of Appeals, however, upheld the appeal waiver as against Champion’s claim that the

sentence was substantively unreasonable. United States v. Champion, Case No. 14-4237 (6th Cir.

Jul. 8, 2015)(unreported, copy at ECF No. 588).



                                         ANALYSIS


       Champion’s two grounds for relief together claim the sentence should be vacated because

Champion received ineffective assistance of trial counsel in that Gallagher failed to explain the

federal law of conspiracy and the appeal waiver.




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       A plea of guilty or no contest is valid if, but only if, it is entered voluntarily and

intelligently, as determined by the totality of the circumstances. Brady v. United States, 397 U.S.

742, 748 (1970); Boykin v. Alabama, 395 U.S. 238, 242-44 (1969); King v. Dutton, 17 F.3d 151

(6th Cir. 1994); Riggins v. McMackin, 935 F.2d 790, 795 (6th Cir. 1991); Berry v. Mintzes, 726

F.2d 1142, 1146 (6th Cir. 1984). The determination of whether this plea was intelligently made

depends upon the particular facts and circumstances of each case. Johnson v. Zerbst, 304 U.S.

458, 463 (1938); Garcia v. Johnson, 991 F.2d 324, 326 (6th Cir. 1993).

               A plea of guilty entered by one fully aware of the direct
               consequences, including the actual value of any commitments
               made to him by the court, prosecutor, or his own counsel, must
               stand unless induced by threats (or promises to discontinue
               improper harassment), misrepresentation (including unfulfilled or
               unfulfillable promises), or perhaps by promises that are by their
               nature improper as having no proper relationship to the
               prosecutor's business (e. g. bribes).

Brady, 397 U.S. at 755. In order for a guilty plea to be constitutional it must be knowing,

intelligent, voluntary, and done with sufficient awareness of the relevant circumstances and

likely consequences. Bradshaw v. Stumpf, 545 U.S. 175, 183 (2005). The identical standard

applies to a plea of no contest or nolo contendere. See Fautenberry v. Mitchell, 515 F.3d 614,

636–37 (6th Cir. 2008). The voluntariness of a guilty or no contest plea is determined in light of

all relevant circumstances surrounding the plea. Brady, 397 U.S. at 749. If a prosecutor’s

promise is illusory, then a plea is involuntary and unknowing. United States v. Randolph, 230

F.3d 243, 250–51 (6th Cir. 2000). However, where a defendant is “fully aware of the likely

consequences” of a plea, it is not unfair to expect him to live with those consequences. Mabry v.

Johnson, 467 U.S. 504, 511 (1984). A plea-proceeding transcript which suggests that a guilty or

no contest plea was made voluntarily and knowingly creates a “heavy burden” for a petitioner


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seeking to overturn his plea. Garcia v. Johnson, 991 F.2d 324, 326–28 (6th Cir. 1993). Where

the transcript shows that the guilty or no contest plea was voluntary and intelligent, a

presumption of correctness attaches to the state court findings of fact and to the judgment itself.

Id. at 326–27.

       In his § 2255 Motion, Champion does not say he did not understand either the conspiracy

charge or the appeal waiver and indeed he swore to Judge Dlott that he did. Given this solemn

sworn admission under oath, whatever conversation he and Gallagher had off the record about

what either conspiracy or the sentence appeal waiver meant is irrelevant. To put it another way,

it does not matter what Gallagher said if Champion understood these relevant concepts. He

swore that he did and he will not now be heard to contradict those sworn admissions.



Conclusion



       Based on the foregoing analysis, it is respectfully recommended that Champion’s § 2255

Motion be dismissed with prejudice. Because reasonable jurists would not disagree with this

conclusion, Petitioner should be denied a certificate of appealability and the Court should certify

to the Sixth Circuit that any appeal would be objectively frivolous and therefore should not be

permitted to proceed in forma pauperis.



June 9, 2016.

                                                               s/ Michael R. Merz
                                                              United States Magistrate Judge




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                           NOTICE REGARDING OBJECTIONS

Pursuant to Fed. R. Civ. P. 72(b), any party may serve and file specific, written objections to the
proposed findings and recommendations within fourteen days after being served with this Report
and Recommendations. Pursuant to Fed. R. Civ. P. 6(d), this period is extended to seventeen
days because this Report is being served by one of the methods of service listed in Fed. R. Civ.
P. 5(b)(2)(C), (D), (E), or (F). Such objections shall specify the portions of the Report objected
to and shall be accompanied by a memorandum of law in support of the objections. If the Report
and Recommendations are based in whole or in part upon matters occurring of record at an oral
hearing, the objecting party shall promptly arrange for the transcription of the record, or such
portions of it as all parties may agree upon or the Magistrate Judge deems sufficient, unless the
assigned District Judge otherwise directs. A party may respond to another party=s objections
within fourteen days after being served with a copy thereof. Failure to make objections in
accordance with this procedure may forfeit rights on appeal. See United States v. Walters, 638
F.2d 947, 949-50 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140, 153-55 (1985).




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